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                              EXHIBIT 23




                                                                EXHIBIT 23
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                                  City ofMelvindale Police Department
                                3100 Oakwood Boulevard · Melvindale, Michigan 48122
                                       (313) 429.1070 · Fax (313) 382.6038
                                           policechief@melvindale.org



       John R. Allen                                                         Chief of Police


       March 31, 2017

      Reference: 2016-01752/Complaint against Cpl. Furman


      I was called today in reference to this case by Sunshine of the MSP. I was informed that

      the case was denied and that it is now closed. I contacted Cpl. Furman and advised him

      of the disposition. I sent City Attorney Lawrence Coogan a text message in reference to

      this case being closed.




     Sincerely,


  ~ f2_ ~
     John R. Allen

     Chief of Police




                                                                                                   4/23/2018
                                                             Defendant's Response to 1st Request to Produce
                                                                                                      006512
